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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                          EASTERN DIVISION


UNITED STATES OF AMERICA                )
                                        )
v.                                      ) CR. CASE NO. 3:19CR364-ECM
                                        )
NAYEF AMJAD QASHOU


                                   CONSENT

      I hereby declare my intention to enter a plea of guilty in the above case, and

after conferring with my lawyer, I hereby consent to have a United States

Magistrate Judge conduct the proceedings required by Rule 11 ofthe Federal Rules

of Criminal Procedure incident to the making of such a plea and to adjudicate me

guilty based on my plea of guilty. I understand that the District Judge to whom

this case is assigned will decide later whether to accept or reject any plea

agreement I may have with the United States and will impose sentence.

      DATED this 1 lth day of February, 2020.

                                              / big"
                                            DEFE ANT



                                                UNSEL
